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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 WISCONSIN VOTERS ALLIANCE, et al.,

        Plaintiffs,
               v.                                  Civil Action No. 20-3791 (JEB)
 VICE PRESIDENT MICHAEL R.
 PENCE, et al.,

        Defendants.


                                         ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that Plaintiffs’ Motion for Preliminary Injunction is DENIED.

                                                        /s/ James E. Boasberg
                                                        JAMES E. BOASBERG
                                                        United States District Judge
Date: January 4, 2021




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